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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-39-PB

Gillian Barrett



                               O R D E R

     The defendant, through counsel, has moved to continue the

trial scheduled for January 6, 2008, citing the need for

additional time to negotiate a plea agreement or prepare a

defense.   The government does not object to a continuance of the

trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from January 6, 2008 to March 3, 2009.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The December 29, 2008 final pretrial conference is continued

to January 20, 2009 at 3:15 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 22, 2008

cc:   Stanley Norkunas, Esq.
      Debra Walsh, Esq.
      United States Probation
      United States Marshal




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